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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT COURT OF OREGON
                                PORTLAND DIVISION


CONNER SLEVIN,                                   *
an individual,                                   *
                                                 *
         PLAINTIFF,                              *
v.                                               *
                                                 *   Case No._______________
LCM PROPERTIES, LLC,                             *
a limited liability company,                     *
                                                 *
         DEFENDANT.                              *
                                                 *


                               SUMMONS IN A CIVIL ACTION


To:      LCM PROPERTIES, LLC, C/O LORI MURPHY, 355 SE 65TH AVE, PORTLAND,
         OR 97215


         A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received
it) — or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the
plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jessica Molligan, Attorney at Law, P.O. Box 16893, Portland, OR
97292.

      If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.


CLERK OF THE COURT



Signature of Clerk or Deputy Clerk

Dated:
